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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-03-5453 OWW
                                       )
10                                     )       ORDER DENYING
                                       )       DEFENDANT/APPELLANT EDDY
11                     Plaintiff/      )       GEORGE'S REQUEST TO
                       Appellee,       )       ENTERTAIN LIMITED REMAND
12                                     )       FROM THE NINTH CIRCUIT (Doc.
               vs.                     )       440)
13                                     )
                                       )
14   EDDY A. GEORGE,                   )
                                       )
15                                     )
                       Defendant/      )
16                     Appellant.      )
                                       )
17                                     )

18        On November 19, 2007, the Ninth Circuit issued an Order in

19   Appellate Case Nos. 06-10488 and 06-10489, denying

20   Defendant/Appellant Eddy George’s motion for a limited remand

21   “without prejudice to renewal accompanied by a written indication

22   that the DC is willing to entertain a limited remand.”

23        On November 26, 2007, George filed a request that this Court

24   entertain a limited remand from the Ninth Circuit for the

25   “limited purpose of clarifying its ruling regarding Mr. George’s

26   issues contained within his new trial motion.”

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1         In co-defendant Nobari’s motion for new trial filed under

2    seal on January 31, 2006 (Doc. 292), Nobari asserted that “[t]he

3    court’s failure to give a special unanimity instruction regarding

4    which gun was the basis of the § 924(c) conviction against Mr.

5    Nobari denied him the constitutional right to a unanimous verdict

6    on Count Three.”    In support of this ground for a new trial,

7    Nobari cited United States v. Shotwell, 2005 U.S. App. LEXIS

8    29012 (9th Cir. December 30, 2005).

9         In George’s motion for new trial filed under seal on

10   February 1, 2006 (Doc. 294), George raised as a ground for a new

11   trial, inter alia, “the failure of the court to instruct the jury

12   respecting the affirmative defense instruction regarding a

13   unanimous jury instruction (unanimity instruction) related to the

14   entrapment defense.     United States v. Shotwell, 2005 U.S. App.

15   LEXIS 29012 (9th Cir. December 30, 2005).”        George argued in his

16   written memorandum that, although he did not request such a jury

17   instruction during trial, Shotwell required that a new trial be

18   granted.   On February 1, 2006, George filed a motion to join

19   Nobari’s motion for new trial (Doc. 293) “respecting grounds

20   raised that relate to racial stereotyping, prosecutorial

21   vouching, disparaging the defense, and other misconduct”, adopted

22   “the legal arguments and factual references to the record that

23   are contained in Mr. Nobari’s motion except as to those arguments

24   and factual references regarding the 924(c) argument” and advised

25   that “[t]he legal arguments and factual references advanced in

26   Mr. George’s motion raise specific issues that are unique to Mr.

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1    George.”

2         The motions for new trial were argued on June 9, 2006 and

3    were denied from the bench, the Minute Order stating that “Court

4    will issue written decision” (Doc. 329).        The “Statement of

5    Decision and Order Denying Defendants’ Motions for New Trial” was

6    filed on August 31, 2006 (Doc. 400).       In pertinent part, the

7    written    Statement of Decision addressed only the argument made

8    by Nobari that the failure to give a specific unanimity

9    discussion for the Section 924(c) offense was error

10   notwithstanding defense counsel’s failure to request such an

11   instruction.   The Statement of Decision did not specifically

12   address George’s argument that the failure to give an unanimity

13   instruction on his affirmative defense of entrapment was error

14   entitling him to a new trial.

15        In the motion for a limited remand, George argues that the

16   ruling in the Statement of Decision does not apply to him, “does

17   not address his unique issues,” and that, “[w]ithout a ruling on

18   the unanimity instruction issue regarding the entrapment defense

19   ..., Mr. George has no appealable final judgment within the aegis

20   of 28 U.S.C. § 1291.”

21        In the Conclusion of the Statement of Decision, it was

22   ruled:

23               All the reasons stated within court on June
                 9, 2006, at the hearing of Defendants’
24               motions for new trial are incorporated by
                 this reference and made a part of the
25               decision. Defendants’ motions for new trial
                 are DENIED.
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     At the hearing on June 9, 2006, counsel for George argued that
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     the failure to give the unanimity instruction on the entrapment
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     defense was error (Doc. 395, June 9, 2006 RT 8:16-21; 42:3-
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     44:21).   The United States responded to those arguments (Doc.
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     395, June 9, 2006 RT 54:7-55:1).         George’s motion was denied from
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     the bench (Doc. 395, June 9, 2006 RT 59:12-60:9).          The Court
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     specifically stated: “[T]he motions for new trial, Mr. Shino,
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     Eddy George, Michael Nobari and Rito Zazueta, are all denied.
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     And I will provide the parties with a written analysis in
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     addition to what has been stated here.”         (Doc. 395, June 9, 2006
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     RT 60:6-9). Because the Statement of Decision incorporated the
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     oral reasons given by the Court on June 6, 2006 in denying the
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     motions for new trial, George’s contention that the Court did not
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     address this ground for a new trial is without merit.
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          Further, George’s contention that the failure to
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     specifically address a ground for new trial in the Statement of
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     Decision means that no final appealable judgment has been issued
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     with respect to him is unsupported by citation to appropriate
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     legal authority.    There is no question that a notice of appeal
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     filed while a motion for new trial is pending before the district
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     court is a nullity and that the failure to file a notice of
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     appeal following ruling on the motion for new trial deprives the
23
     Ninth Circuit of jurisdiction over the appeal.          See Brodigan v.
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     McCormack, 704 F.2d 1073, 1074 (9th Cir.1983).         Brodigan has no
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     application here because the motions for new trial, including
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1    George’s, were denied by oral ruling on June 9, 2006.           That the

2    Statement of Decision filed on August 31, 2006 did not

3    specifically address George’s claim but, rather incorporated by

4    reference the reasons stated in the oral statement of decision,

5    does not negate the fact that all of the motions for new trial

6    were denied on June 9, 2006, well before George filed the Notice

7    of Appeal on August 3, 2006.

8                                 CONCLUSION

9          For the reasons stated above, and because the unanimity

10   issue has been addressed, Defendant/Appellant Eddy George’s

11   request to entertain limited remand from the Ninth Circuit is

12   DENIED.

13         IT IS SO ORDERED.

14   Dated:    December 6, 2007             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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